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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                        CASE NO.: 0:21-cv-60598-GAYLES/STRAUSS

 JEROME FORD,

        Plaintiff,

 v.

 CREDIT CONTROL SERVICES, INC. d/b/a
 CREDIT COLLECTION SERVICES,

       Defendant.
 ________________________________________/

               SCHEDULING ORDER SETTING CIVIL TRIAL DATE AND
                PRETRIAL SCHEDULE, REQUIRING MEDIATION, AND
              REFERRING CERTAIN MOTIONS TO MAGISTRATE JUDGE
        THIS CAUSE is set for trial during the Court’s two-week trial calendar beginning on

 Monday, May 23, 2022 . The Calendar Call will be held at 9:30 a.m. on Wednesday, May 18,

 2022. A Status Conference will be held at 10:00 a.m. on Wednesday, March 23, 2022. The

 parties shall adhere to the following schedule:

  1.   Joinder of any additional parties and filing of motions to amend the complaint
                                                                                           7/16/2021
       by

  2.   Written lists containing the names and addresses of all witnesses intended to
                                                                                           3/28/2022
       be called at trial by

  3.   Plaintiff(s) shall disclose experts, expert witness summaries, and reports as
                                                                                            9/6/2021
       required by Fed. R. Civ. P. 26(a)(2) by

  4.   Defendant(s) shall disclose experts, expert witness summaries, and reports as
       required by Fed. R. Civ. P. 26(a)(2) by                                            9/27/2021

  5.   Exchange of rebuttal expert witness summaries and reports as required by
                                                                                          10/25/2021
       Fed. R. Civ. P. 26(a)(2) by

  6.   Parties shall select a mediator pursuant to Local Rule 16.2 and shall schedule a
                                                                                          11/19/2021
       time, date, and place for mediation by
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  7.    Fact discovery shall be completed by                                               1/31/2022

  8.    Expert discovery shall be completed by                                             1/31/2022

  9.    Dispositive motions, including those regarding summary judgment and
                                                                                           2/28/2022
        Daubert, shall be filed by

  10.   Mediation shall be completed by                                                    2/28/2022

  11.   All pretrial motions and memoranda of law, including motions in limine,
                                                                                           3/28/2022
        shall be filed by

  12.   Joint pretrial stipulation, proposed joint jury instructions, proposed joint
        verdict form, and/or proposed findings of fact and conclusions of law shall be     4/25/2022
        filed by

  13.   Electronic versions of documentary exhibits and Certificates of Compliance
                                                                                           5/16/2021
        re Admitted Evidence shall be filed on CM/ECF by

        Motions. Every motion filed in this case shall be accompanied by one proposed original

 order granting the motion. Each party shall be limited to filing one (1) motion in limine. Unless

 otherwise specified by the Court, every motion shall be double-spaced in Times New Roman 12

 point typeface. Multiple Plaintiffs or Defendants shall file joint motions with co-parties unless

 there are clear conflicts of position.

        Referral to Magistrate Judge. Pursuant to 28 U.S.C. § 636, all discovery matters are

 referred to Magistrate Judge Jared M. Strauss to take all appropriate action. Furthermore, pursuant

 to 28 U.S.C. § 636(c)(1), the parties may consent to trial and final disposition by Magistrate Judge

 Strauss.

        Discovery. The parties may stipulate to extend the time to answer interrogatories, produce

 documents, and answer requests for admissions. The parties shall not file with the Court notices

 or motions memorializing any such stipulation unless the stipulation interferes with the deadlines

 set forth above. The Court must approve all stipulations that would interfere with schedule

 deadlines. See FED. R. CIV. P. 29. In addition to the documents enumerated in Local Rule 26.1(b),


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 the parties shall not file notices of deposition with the Court. Strict compliance with the Local

 Rules is expected, particularly with regard to motion practice. See S.D. FLA. L.R. 7.1.

          Discovery Disputes. The parties shall not file any written discovery motions, including

 motions to compel, for protective order, or for sanctions, without the consent of Magistrate

 Judge Strauss. Counsel must actually confer and engage in reasonable compromise in a genuine

 effort to resolve their discovery disputes before seeking the Court’s intervention. The Court may

 impose sanctions, monetary or otherwise, if it determines that a party has improperly sought or

 withheld discoverable material in bad faith. If, after conferring, the parties are unable to resolve

 their discovery dispute without Court intervention, they shall not file written motions. Rather,

 the parties shall follow Judge Strauss’s Discovery Procedure Order to schedule the matter for a

 hearing.

          Deposition Designations. Parties seeking to use deposition testimony at trial shall

 provide the Court will a full deposition transcript. The designations shall be color coded,

 with each party highlighting the deposition testimony it intends to use in a specific color.

 Objections to designations shall be included in the margins of the transcript.

          Electronic Submission of Exhibits. Pursuant to United States District Court for the

 Southern District of Florida Administrative Order 2016-70 regarding electronic submission of

 exhibits, counsel must file in the CM/ECF system electronic versions of documentary exhibits to

 be submitted at trial no later than 48 hours prior to Calendar Call. 1 At the time of filing the

 electronic exhibits, an attorney for each party shall also complete and file the attached

 Certification of Compliance re Admitted Evidence. Electronically filed exhibits are subject

 to CM/ECF Administrative Procedures, Section 6, Redaction of Personal Information, Privacy



 1
     This requirement excludes contraband and audio/video recordings. The filing party will file with the Clerk a CD,
     DVD, or other electronic medium containing a copy of any exhibit that is an audio or video recording.
                                                          3
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 Policy, and Inappropriate Materials. Failure to file the electronic exhibits and Certification of

 Compliance by the date enumerated above may result in the imposition of sanctions. Any original

 exhibits that have been returned to, or retained by. the filing party after electronic filing shall be

 kept for safe keeping until the conclusion of any appeals; upon order of the Court, the filing party

 must return the original exhibits to the Clerk of Court.

         DONE AND ORDERED in Chambers at Miami, Florida, this Wednesday, April 21,

 2021.




                                                ________________________________
                                                DARRIN P. GAYLES
                                                UNITED STATES DISTRICT JUDGE


 cc:     Magistrate Judge Strauss
         All Counsel of Record




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